                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 1 of 11 Page ID #:1




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                                  6
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                                  7
                                       MARTHA CABRERA
                                  8

                                  9
                                                            UNITED STATES DISTRICT COURT
                                 10
                                                          CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                                                      WESTERN DIVISION
                                 12

                                 13

                                 14    MARTHA CABRERA,                           Case No.: 2:18-cv-6860
                                 15
                                                    Plaintiff,                   COMPLAINT AND DEMAND FOR
                                 16          vs.                                 JURY TRIAL FOR VIOLATIONS
                                                                                 OF:
                                 17
                                       CHASE BANK USA, N.A.; and DOES
                                 18
                                       1 through 10, inclusive,       1. THE TELEPHONE CONSUMER
                                 19
                                                                         PROTECTION ACT
                                                   Defendants.           [47 U.S.C. § 227 et seq.]
                                 20
16130 Ventura Blvd., Suite 660




                                                                                 2. THE ROSENTHAL FAIR DEBT
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                                 21
                                                                                    COLLECTION PRACTICES ACT
     Encino, CA 91436




                                 22                                                 [CAL. CIV. CODE § 1788 et seq.]
                                 23
                                                                                 3. RIGHT TO PRIVACY
                                 24
                                                                                    [INTRUSION]
                                 25

                                 26

                                 27

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                                                                                 -1-
                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 2 of 11 Page ID #:2




                                  1                             COMPLAINT FOR DAMAGES
                                  2                                    INTRODUCTION
                                  3       1.     Martha Cabrera (hereinafter “Plaintiff”) brings this action to secure
                                  4    redress from unlawful credit and collection practices engaged in by Chase Bank
                                  5    USA, N.A. (hereinafter “Defendant”). Plaintiff alleges violations of the
                                  6
                                       Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., the

                                  7
                                       Rosenthal Fair Debt Collection Practices Act (“RFDCPA”), CAL. CIV. CODE §
                                       1788 et seq., and Plaintiff’s reasonable Right to Privacy. The TCPA is a federal
                                  8
                                       statute that broadly regulates the use of automated telephone equipment and
                                  9
                                       delegates rulemaking authority to the Federal Communications Commission
                                 10
                                       (“FCC”). Among other things, the TCPA prohibits calls or texts to a consumer’s
                                 11
                                       cellular telephone through the use of automatic dialers without the consumer’s
                                 12
                                       prior express consent. The RFDCPA prohibits debt collectors from engaging in
                                 13
                                       abusive, deceptive and unfair practices in connection with the collection of
                                 14
                                       consumer debts.
                                 15

                                 16
                                                                VENUE AND JURISDICTION
                                 17
                                          2.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as
                                 18
                                       Plaintiff’s claims arise under the laws of the United States. Jurisdiction in this
                                 19
                                       Court is also proper pursuant to 28 U.S.C. § 1367 as Plaintiff’s RFDCPA claim is
                                 20    so related to Plaintiff’s TCPA claim that they form part of the same case or
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                                 21    controversy under Article III of the United States Constitution.
     Encino, CA 91436




                                 22       3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
                                 23    the acts and transactions alleged in this Complaint occurred here, Plaintiff resides
                                 24    here, and Defendant transacts business here.
                                 25
                                                                            PARTIES
                                 26
                                          4.     Plaintiff Martha Cabrera is an individual who resides in Los Angeles,
                                 27
                                       Los Angeles County, California 91352.
                                 28


                                                                               -2-
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 3 of 11 Page ID #:3




                                  1       5.    Plaintiff is a natural person obligated or allegedly obligated to pay a
                                  2    debt, and from whom a debt collector seeks to collect a consumer debt which is
                                  3    due and owing or alleged to be due and owing from such person. Thus, Plaintiff is
                                  4    a “debtor” as defined by the RFDCPA, CAL. CIV. CODE § 1788.2(h).
                                  5       6.    Defendant Chase Bank USA, N.A. is a federally chartered bank,
                                  6
                                       registered under the laws of the State of Delaware. Defendant’s principal place of

                                  7
                                       business is located at 270 Park Avenue, New York, NY 10017-2070. Upon
                                       information and belief, Defendant’s Registered Agent for Service of Process is
                                  8
                                       The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,
                                  9
                                       Wilmington, DE 19801.
                                 10
                                          7.    Defendant regularly engages in the collection of debt by telephone in
                                 11
                                       several states including, California. In the ordinary course of business, regularly,
                                 12
                                       on behalf of itself or others, Defendant engages in debt collection and thus,
                                 13
                                       Defendant is a "debt collector" as defined by the RFDCPA, CAL. CIV. CODE §
                                 14
                                       1788.2(c).
                                 15
                                          8.    The true names and capacities, whether individual, corporate, or in any
                                 16
                                       other form, of Defendants DOES 1 through 10, inclusive, and each of them, are
                                 17
                                       unknown to Plaintiff, who therefore sues them by such fictitious names. Plaintiff
                                 18
                                       will seek leave to amend this Complaint to show the true names and capacities of
                                 19
                                       DOES 1 through 10 should they be discovered.
                                 20
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                                                                 FACTUAL ALLEGATIONS
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                                 21
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                                 22       9.    Within one (1) year prior to the filing of this action, Defendant placed
                                 23    collection calls to Plaintiff, seeking and demanding payment for an alleged debt
                                 24
                                       owed.

                                 25
                                          10.   The debt Defendant is attempting to collect is an alleged obligation of a
                                       consumer to pay money arising out of a transaction in which the money, property,
                                 26
                                       insurance or services which are the subject of the transaction are primarily for
                                 27
                                       personal, family, or household purposes, whether or not such obligation has been
                                 28


                                                                              -3-
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 4 of 11 Page ID #:4




                                  1    reduced to judgment. As such, it is a “debt” as defined by the FDCPA, 15 U.S.C.
                                  2    § 1692a(5), and a “consumer debt” as defined by the RFDCPA, Cal. Civ. Code §
                                  3    1788.2(f).
                                  4       11.       Within one (1) year prior to the filing of this action, Defendant regularly
                                  5    and repeatedly called Plaintiff at, but not limited to, Plaintiff’s cellular telephone
                                  6
                                       number (323) 702-7015.

                                  7
                                          12.       Upon information and belief, Defendant continuously and repeatedly
                                       called Plaintiff at Plaintiff’s cellular telephone number from telephone numbers:
                                  8
                                       (210) 520-2593, (407) 732-2414, (407) 732-2415, and (407) 732-2417. At all
                                  9
                                       times relevant, Defendant owned, operated, and/or controlled telephone numbers:
                                 10
                                       (210) 520-2593, (407) 732-2414, (407) 732-2415, and (407) 732-2417.
                                 11
                                          13.       Within one (1) year prior to the filing of this action, Defendant caused
                                 12
                                       Plaintiff’s telephone to ring repeatedly and continuously in order to annoy
                                 13
                                       Plaintiff.
                                 14
                                          14.       Within one (1) year prior to the filing of this action, Defendant
                                 15
                                       communicated with Plaintiff with such frequency as to be unreasonable under the
                                 16
                                       circumstances and to constitute harassment.
                                 17
                                          15.       Defendant called Plaintiff over ninety-five (95) times.
                                 18
                                          16.       Defendant repeatedly called Plaintiff at least five (5) times in a single
                                 19
                                       day. For instance and without limitation, Defendant called Plaintiff at least five
                                 20    (5) times on August 5, 2017, August 7, 2017, and August 9, 2017.
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                                 21       17.       Defendant called Plaintiff despite Plaintiff requesting the calls to stop.
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                                 22       18.       On July 28, 2017, at approximately 8:13 a.m., Defendant called Plaintiff
                                 23    at Plaintiff’s cellular telephone number (323) 702-7015 from Defendant’s
                                 24    telephone number (407) 732-2414. Plaintiff answered Defendant’s telephone call
                                 25    and spoke with a representative of Defendant. Plaintiff requested that Defendant
                                 26    stop calling Plaintiff.
                                 27

                                 28


                                                                                  -4-
                                                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 5 of 11 Page ID #:5




                                  1       19.    Subsequent to Plaintiff’s request on July 28, 2017, at approximately 8:13
                                  2    a.m., Defendant called Plaintiff’s cellular telephone number (323) 702-7015 no
                                  3    less seventy (70) times.
                                  4       20.    Each call that Plaintiff answered from Defendant began with a beep,
                                  5    click, or long pause before it was answered by a live operator, or was
                                  6
                                       automatically dropped.

                                  7
                                          21.    At all times relevant to this action, Defendant has been subject to, and
                                       required to abide by, the laws of the United States, which included the TCPA and
                                  8
                                       its related regulations that are set forth at 47 C.F.R. § 64.1200 (“TCPA
                                  9
                                       Regulations”), as well as the opinions, regulations and orders issued by the courts
                                 10
                                       and the FCC implementing, interpreting and enforcing the TCPA and the TCPA
                                 11
                                       regulations.
                                 12
                                          22.    At all times relevant to this action, Defendant owned, operated and or
                                 13
                                       controlled an “automatic telephone dialing system” as defined by TCPA 47 U.S.C.
                                 14
                                       § 227(a)(1) that originated, routed and/or terminated telecommunications.
                                 15
                                          23.    Within four (4) years prior to the filing of this action, Defendant called
                                 16
                                       Plaintiff at Plaintiff’s cellular telephone number multiple times using an artificial
                                 17
                                       prerecorded voice or using equipment which has the capacity to store or produce
                                 18
                                       telephone numbers to be called, using random or sequential number generator and
                                 19
                                       to dial such numbers, also known as an “automatic telephone dialing system” as
                                 20    defined by TCPA 47 U.S.C. § 227(a)(1)(A) and (B).
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                                 21       24.    Defendant never received Plaintiff’s consent to call Plaintiff on
     Encino, CA 91436




                                 22    Plaintiff’s cellular telephone using an “automatic telephone dialing system” or an
                                 23    “artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(1).
                                 24       25.    Assuming Defendant received Plaintiff’s consent to call Plaintiff on
                                 25    Plaintiff’s cellular telephone using an “automatic telephone dialing system” or an
                                 26    “artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(1), this consent
                                 27    was revoked on July 28, 2017.
                                 28


                                                                                -5-
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 6 of 11 Page ID #:6




                                  1       26.    Defendant is not a tax exempt nonprofit organization.
                                  2       27.    Defendant’s violation of the TCPA was willful. Defendant’s violation of
                                  3    the TCPA was willful because Plaintiff repeatedly requested that Defendant cease
                                  4    calling Plaintiff.
                                  5       28.    Defendant’s violation of the TCPA was knowing. Defendant’s violation
                                  6
                                       of the TCPA was knowing because Defendant has repeatedly been the subject of

                                  7
                                       litigation due to its use of an automatic telephone dialing system.
                                          29.    Within four (4) years prior to the filing of this action, Defendant
                                  8
                                       willfully and/or knowingly contacted Plaintiff no less than seventy (70) times at
                                  9
                                       Plaintiff’s cellular telephone using an “automatic telephone dialing system” or
                                 10
                                       using an “artificial or prerecorded voice” in violation of the TCPA.
                                 11
                                          30.    The natural and probable consequences of Defendant’s conduct were to
                                 12
                                       unjustly condemn and vilify Plaintiff for her non-payment of the debt she
                                 13
                                       allegedly owed.
                                 14
                                          31.    The natural and probable consequences of Defendant’s conduct were to
                                 15
                                       produce an unpleasant and/or hostile situation between Defendant and Plaintiff.
                                 16
                                          32.    Defendant’s conduct as described in detail above amounts to an unfair or
                                 17
                                       unconscionable means to collect or attempt to collect the alleged debt.
                                 18
                                          33.    Defendant’s conduct as described in detail above was done to harass,
                                 19
                                       oppress, or abuse Plaintiff.
                                 20       34.    Defendant’s acts, as described above, were done intentionally with the
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                                 21    purpose of coercing Plaintiff to pay the alleged debt.
     Encino, CA 91436




                                 22

                                 23                              FIRST CAUSE OF ACTION
                                 24                 (Violations of the Telephone Consumer Protection Act,
                                                                     47 U.S.C. § 227 et seq.)
                                 25
                                          35.    Plaintiff incorporates by reference all of the above paragraphs of this
                                 26
                                       Complaint as though fully stated herein.
                                 27

                                 28


                                                                               -6-
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 7 of 11 Page ID #:7




                                  1       36.    Defendant violated the TCPA. Defendant’s violations include, but are
                                  2    not limited to the following:
                                  3              a. Within four (4) years prior to the filing of this action, on multiple
                                  4                     occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii)
                                  5                     which states in pertinent part, “It shall be unlawful for any person
                                  6
                                                        within the United States . . . to make any call (other than a call made

                                  7
                                                        for emergency purposes or made with the prior express consent of the
                                                        called party) using any automatic telephone dialing system or an
                                  8
                                                        artificial or prerecorded voice — to any telephone number assigned to
                                  9
                                                        a . . . cellular telephone service . . . or any service for which the called
                                 10
                                                        party is charged for the call.”
                                 11
                                                 b. Within four (4) years prior to the filing of this action, on multiple
                                 12
                                                        occasions, Defendant willfully and/or knowingly contacted Plaintiff at
                                 13
                                                        Plaintiff’s cellular telephone using an artificial prerecorded voice or
                                 14
                                                        an automatic telephone dialing system and as such, Defendant
                                 15
                                                        knowing and/or willfully violated the TCPA.
                                 16
                                          37.    As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is
                                 17
                                       entitled to an award of five hundred dollars ($500.00) in statutory damages, for
                                 18
                                       each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
                                 19
                                       that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled
                                 20    to an award of one thousand five hundred dollars ($1,500.00), for each and every
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                                 21    violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
     Encino, CA 91436




                                 22       38.    Plaintiff is also entitled to seek injunctive relief prohibiting such conduct
                                 23    in the future.
                                 24                             SECOND CAUSE OF ACTION
                                 25             (Violation of the Rosenthal Fair Debt Collection Practices Act,
                                                              California Civil Code § 1788 et seq.)
                                 26
                                          39.    Plaintiff incorporates by reference all of the above paragraphs of this
                                 27
                                       Complaint as though fully stated herein.
                                 28


                                                                                   -7-
                                                                   COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 8 of 11 Page ID #:8




                                  1       40.    Defendant violated the RFDCPA. Defendant’s violations include, but
                                  2    are not limited to, the following:
                                  3              a. Defendant violated CAL. CIV. CODE § 1788.11(d) by causing the
                                  4                 telephone to ring repeatedly or continuously to annoy the person
                                  5                 called;
                                  6
                                                 b. Defendant violated CAL. CIV. CODE § 1788.11(e) by communicating

                                  7
                                                    with the Plaintiff with such frequency as to be unreasonable and to
                                                    constitute harassment; and
                                  8
                                                 c. Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
                                  9
                                                    attempting to collect a consumer debt without complying with the
                                 10
                                                    provisions of Sections 1692b to 1692j, inclusive, of Title 15 of the
                                 11
                                                    United States Code (the Fair Debt Collection Practices Act):
                                 12
                                                        i.    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
                                 13
                                                              U.S.C. § 1692d by engaging in conduct, the natural
                                 14
                                                              consequence of which is to harass, oppress or abuse any
                                 15
                                                              person in connection with the collection of the alleged debt;
                                 16
                                                       ii.    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
                                 17
                                                              U.S.C. § 1692d(5) by causing the phone to ring or engaging
                                 18
                                                              any person in telephone conversations repeatedly; and
                                 19
                                                      iii.    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
                                 20                           U.S.C. §1692f of the FDCPA by using unfair or
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                                 21                           unconscionable means in connection with the collection of an
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                                 22                           alleged debt.
                                 23       41.    As a result of the foregoing violations of the RFDCPA, Defendant is
                                 24    liable to Plaintiff for actual damages, statutory damages, and attorney’s fees and
                                 25    costs.
                                 26

                                 27

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                                                                                -8-
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 9 of 11 Page ID #:9




                                  1                               THIRD CAUSE OF ACTION
                                  2
                                                                (Violation of the Right to Privacy)
                                          42.     Plaintiff incorporates by reference all of the above paragraphs of this
                                  3
                                       Complaint as though fully stated herein.
                                  4
                                          43.     Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon
                                  5
                                       seclusion as “[o]ne who intentionally intrudes… upon the solitude or seclusion of
                                  6
                                       another, or his private affairs or concerns, is subject to liability to the other for
                                  7
                                       invasion of privacy, if the intrusion would be highly offensive to a reasonable
                                  8
                                       person”.
                                  9
                                          44.     Defendant violated Plaintiff’s privacy. Defendant’s violations include,
                                 10
                                       but are not limited to, the following:
                                 11
                                                  a. Defendant intentionally intruded upon Plaintiff’s solitude, seclusion
                                 12
                                                     or private affairs and concerns. Defendant’s intrusion would be
                                 13                  highly offensive to a reasonable person and unwarranted and
                                 14                  unjustified.
                                 15               b. Defendant intentionally intruded, physically or otherwise, upon
                                 16                  Plaintiff’s solitude and seclusion by engaging in harassing phone
                                 17                  calls in an attempt to collect on an alleged debt despite having
                                 18                  unequivocally revoked consent to be called.
                                 19               c. The number and frequency of the telephone calls to Plaintiff by
                                 20                  Defendant constitute an intrusion on Plaintiff’s privacy and solitude.
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                                                  d. Defendant’s conduct would be highly offensive to a reasonable
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     Encino, CA 91436




                                 22                  person as Plaintiff received calls that often interrupted Plaintiff’s
                                 23                  work and sleep schedule.

                                 24
                                          45.     Defendant’s acts, as described above, were done intentionally with the

                                 25
                                       purpose of coercing Plaintiff to pay the alleged debt.
                                          46.     As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is
                                 26
                                       liable to Plaintiff for actual damages. If the Court finds that the conduct is found to
                                 27
                                       be egregious, Plaintiff may recover punitive damages.
                                 28


                                                                                -9-
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 10 of 11 Page ID #:10




                                  1                                PRAYER FOR RELIEF
                                  2         WHEREFORE, the Court should enter judgment in favor of Plaintiff and
                                  3   against Defendant for:
                                  4         A.    An injunction prohibiting Defendant from contacting Plaintiff on
                                  5               Plaintiff’s cellular telephone using an automated dialing system
                                  6
                                                  pursuant to 47 U.S.C. § 227(b)(3)(A);

                                  7
                                            B.    Actual damages pursuant to CAL. CIV. CODE § 1788.30(a);
                                            C.    As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1),
                                  8
                                                  Plaintiff is entitled to and requests five hundred dollars ($500.00) in
                                  9
                                                  statutory damages, for each and every negligent violation, pursuant to
                                 10
                                                  47 U.S.C. § 227(b)(3)(B);
                                 11
                                            D.    As a result of Defendant’s willful and/or knowing violations of 47
                                 12
                                                  U.S.C. § 227(b)(1), Plaintiff is entitled to and requests treble damages,
                                 13
                                                  as provided by statute, of one thousand five hundred dollars
                                 14
                                                  ($1,500.00), for each and every violation pursuant to 47 U.S.C. §
                                 15
                                                  227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);
                                 16
                                            E.    Statutory damages pursuant to CAL. CIV. CODE § 1788.30(b);
                                 17
                                            F.    As a result of Respondent’s malicious and oppressive invasion of
                                 18
                                                  Claimant’s privacy, Claimant is entitled to and requests punitive
                                 19
                                                  damages pursuant to CAL. CIV. CODE § 3294(a);
                                 20         G.    Costs and reasonable attorney’s fees pursuant to CAL. CIV. CODE §
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                                 21               1788.30(c);
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                                 22         H.    Awarding Plaintiff any pre-judgment and post-judgment interest as
                                 23               may be allowed under the law; and
                                 24         I.    For such other and further relief as the Court may deem just and
                                 25               proper.
                                 26

                                 27

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                                                                              - 10 -
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 2:18-cv-06860-RSWL-AFM Document 1 Filed 08/09/18 Page 11 of 11 Page ID #:11




                                  1                           DEMAND FOR JURY TRIAL
                                  2          PLEASE TAKE NOTICE that Plaintiff, Martha Cabrera, demands trial by a
                                  3   jury in this action.
                                  4

                                  5                                        RESPECTFULLY SUBMITTED,
                                  6
                                                                           SM LAW GROUP, APC

                                  7   DATED: August 9, 2018                By: /s/ Kian Mottahedeh
                                                                           Kian Mottahedeh, Esq. (SBN 247375)
                                  8
                                                                           Attorneys for Plaintiff,
                                  9                                        MARTHA CABRERA
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                                                                            - 11 -
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
